        Case 1:20-cv-03885-TMR Document 86                Filed 08/11/22     Page 1 of 1

                                        CONFIDENTIAL

                            UNITED STATES COURT OF INTERNATIONAL TRADE
                                        ONE FEDERAL PLAZA
                                      NEW YORK, N.Y. 10278-0001




                                                                            August 11, 2022
VIA CM/ECF


                Re:   Jiangsu Senmao Bamboo and Wood Industry Co., Ltd. et al v. United
                      States
                      Court No. 20-03885

Dear Counsel:

        It is the court’s intention to issue the opinion in the above-captioned case as a redacted
public document. The opinion contains confidential information (enclosed within double square
brackets), which will be redacted prior to the issuance of the public opinion. The court does not
believe that the opinion, as redacted, contains confidential information. However, out of an
abundance of caution, the court asks the parties to review the opinion and inform the court in
writing by 17:00 on August 18, 2022, whether any information not already redacted is
confidential and should be redacted in the public version, or whether any redacted information
can remain public.

        The slip opinion contains 45 instances of bracketed confidential information. The court
does not consider that all of the bracketed information in the slip opinion constitutes Business
Confidential Information. Considering the significant amount of confidential information in the
slip opinion, the court has highlighted in green the text between brackets that the court does not
consider constitutes Business Confidential Information. The court would like to receive the
parties’ views as to whether the information should remain bracketed.

        If either party considers that any additional information should be redacted from the
public version, please identify the information or statement and explain the basis for the
proposed redaction.

       If meeting this deadline will impose an unreasonable hardship, please inform the court
immediately. Please feel free to contact my case manager, Ms. Cynthia Love, at (212) 264-
2923, with any questions. Thank you for your assistance and cooperation.


                                                            Sincerely,

                                                            /s/ Timothy M. Reif
                                                            ____________________
                                                            Timothy M. Reif, Judge
